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                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF TEXAS
                                 PECOS DIVISION


PENNY SEVART,                               §              CIVIL ACTION NO.
          PLAINTIFF,                        §
                                            §
v.                                          §                 4:20-CV-00081
                                            §
PLAINS ALL AMERICAN GP LLC,                 §
          DEFENDANT.                        §              JURY DEMANDED


                                PLAINTIFF’S COMPLAINT

TO THE HONORABLE UNITED STATES DISTRICT COURT:

       Plaintiff PENNY SEVART (“Plaintiff”) files this Complaint and would respectfully

show the Court as follows:

                                           PARTIES

       1.     Plaintiff is an individual who currently resides in Midland County, Texas.

       2.     Defendant PLAINS ALL AMERICAN GP LLC (“Defendant”) is a is a foreign

limited partnership incorporated in Delaware with its principal place of business located in

Houston, Texas. Defendant may be served with process through its registered agent Corporation

Service Company d/b/a CSC-Lawyers Incorporating Service Company, 211 E 7th Street, Suite

620, Austin, TX 78701-3218.

                                JURISDICTION AND VENUE

       3.     Pursuant to 28 U.S.C. §§ 1331 and 1343, this Court has federal question jurisdiction

because the action arises under Title I of the Americans with Disabilities Act (ADA), 42 U.S.C.

§12117(a), Title VII of the Civil Rights Act of 1964 (Title VII), 42 U.S.C. § 2000e-5(f)(3), and

the Age Discrimination in Employment Act (ADEA), 29 U.S.C. § 623(a).



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       4.      This Court has supplemental jurisdiction under 28 U.S.C. § 1367 over Plaintiff’s

state law claims which are so related to the claims within the Court’s original jurisdiction that they

form part of the same case or controversy under Article III of the U.S. Constitution.

       5.      Venue is proper in the U.S. District Court for the Western District of Texas pursuant

to 42 U.S.C. § 1391(b) because the unlawful practices alleged below were committed therein.

                    EXHAUSTION OF ADMINISTRATIVE PROCEDURES

       6.      Plaintiff timely filed a Charge of Discrimination with the Equal Employment

Opportunity Commission (EEOC). Plaintiff received a Notice of Right to Sue (RTS Notice) from

the EEOC on or about September 23, 2020. Plaintiff filed this suit within ninety (90) days. A true

and correct copy of the RTS Notice is attached as Exhibit A.

                                   CONDITIONS PRECEDENT

       7.      All conditions precedent have been performed or have occurred.

                                              FACTS

       8.      Employers MUST have a workplace that is free from discrimination and

harassment on the basis of protected characteristics including age and sex.

       9.      Employers MUST prevent disability discrimination against employees to protect

employees from financial injuries and emotional trauma.

       10.     When not an undue burden, employers MUST provide reasonable accommodations

to the known disabilities of employees to protect employees from financial injuries and emotional

trauma.

       11.     Defendant is an Employer.

       12.     Defendant MUST prevent disability discrimination against employees to protect

employees from financial injuries and emotional trauma.



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         13.   Defendant MUST have a workplace that is free from discrimination and harassment

on the basis of age.

         14.   When not an undue burden, Defendant MUST provide reasonable accommodations

to the known disabilities of employees to protect employees from financial injuries and emotional

trauma.

         15.   Defendant owns and operates midstream energy infrastructure and provides

logistics services for crude oil, natural gas liquids, and natural gas. It owns an extensive network

of pipeline transportation, terminal, storage, and gathering assets in key crude oil and natural gas

liquid producing basins and transportation corridors and at major market hubs in the United States

and Canada.

         16.   Defendant hires Plaintiff as an Administrative Assistant. Defendant employs

Plaintiff for almost 37 years. Defendant assigns Plaintiff to the Midland Basin District tank farm

starting in approximately 2002.

         17.   In 2018, Plaintiff qualifies for short-term disability due to pleurisy, costochondritis,

and blood clot in her lungs.

         18.   Defendant hires Eric Holland approximately 6 years ago. He climbs the ranks from

pipeliner and is promoted to District Manager on or about September 1, 2018.

         19.   On Plaintiff’s first day back at work, Defendant’s District Manager Eric Holland

tells her that she had missed too much sick time.

         20.   He tells her that for the last five years as long as he has known her, she has been a

lousy employee.

         21.   District Manager Eric Holland tells Plaintiff that she is always sick, late, and leaves

early.



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        22.     Defendant’s District Manager Eric Holland tells Plaintiff that he tried to replace her

but was not successful, so he is stuck with her for the time being.

        23.     Plaintiff is stunned as Holland has never supervised her before.

        24.     Defendant’s District Manager Eric Holland writes Plaintiff up in April 2019. This

is the first and only writeup in Plaintiff’s entire career.

        25.     In the meeting, Plaintiff asks Defendant’s District Manager Eric Holland if the

write-up is in retaliation for taking short-term disability. He never answers the question.

        26.     One of the things that District Manager Eric Holland writes Plaintiff up for is

“consistent failure to update tracking sheets for scheduled budgetary meetings.” He identifies the

date of one meeting: 3-15-19

        27.     District Manager Eric Holland also writes Plaintiff up for “working unauthorized

overtime on multiple occasions.” He identifies four dates: 1-26-19, 4-1-19, 4-2-19, and 4-15-19.

        28.     District Manager Eric Holland writes, “Performance is consistently below average

of the Administrative assistant job scopes within the Division.”

        29.     Plaintiff occasionally misses work to help her 86-year-old father who lives with

her. Plaintiff is his primary caregiver.

        30.     HR Manager Lorne Isham tells Plaintiff that she has to choose between her job and

her family; she cannot take care of both.

        31.     Plaintiff questions her co-worker, Business Analyst Jacie Ferguson, about whether

she was behind on her work. The business analyst tells her it is not true.

        32.     On at least one of the occasions when Plaintiff is accused of working unauthorizes

overtime, the internet is down, and Plaintiff has to work late after it comes back up.




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       33.      District Manager Eric Holland also makes offensive comments about women.

Plaintiff is the only female employee at her work location.

       34.      Even though there are three bathrooms, District Manager Eric Holland does not

designate one for women.

       35.      Plaintiff complains about the use of foul language in the office.

       36.      Defendant requires Plaintiff to bring a doctor’s note for every absence.

       37.      Defendant requires Plaintiff to account for her time strictly.

       38.      Other employees are not required to account for their time strictly. In other words,

other employees take time off without noting it in their timesheets.

       39.      Defendant’s company policy requires a doctor’s note only for absences of three

days or more.

       40.      Other employees are not required to bring doctors’ notes every time they miss work.

       41.      Only one other employee is required to bring a doctor’s note every time, and he

also has a medical condition.

       42.      Plaintiff tries to transfer to two other jobs, but she does not get them.

       43.      On November 13, 2019, Plaintiff sends a text to her supervisors requesting to take

a day of vacation for a family emergency. Defendant tells Plaintiff to bring a doctor’s note to

excuse the emergency.

       44.      Defendant terminates Plaintiff’s employment when she returns.

       45.      Plaintiff still has vacation available at the time of her termination.

       46.      Plaintiff has worked for Defendant for over 36 years.




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                  COUNT ONE - DISABILITY DISCRIMINATION (ADA) –
                   FAILURE TO ACCOMMODATE AND TERMINATION

       47.     Plaintiff incorporates by reference and re-alleges reference all of the forgoing and

further alleges as follows:

       48.     Plaintiff is an employee within the meaning of the Americans with Disabilities Act

(ADA). See 42 U.S.C. §12111(4).

       49.     Defendant is an employer within the meaning of the ADA.                See 42 U.S.C.

§12111(5).

       50.     Plaintiff is a qualified individual with a disability as defined by the ADA. See 42

U.S.C. §12102, 12111(8).

       51.     Plaintiff has a physical impairment that substantially limits a major life activity; has

a record of disability; or has been regarded as having such an impairment by Defendant. 42 U.S.C.

§12102(1)

       52.     Plaintiff is otherwise qualified to perform the essential functions of her job as an

administrative assistant.

       53.     Defendant violated the ADA by failing to accommodate Plaintiff’s disability by,

among other things, not allowing her to take limited leave.           In the alternative, Defendant

intentionally discriminated against Plaintiff by treating her differently by subjecting her to more

scrutiny than able-bodied employees, subjecting her to higher performance standards, and/or firing

her because of her disability.

       54.     Defendant violated the ADA by failing to engage in the interactive process and

terminating Plaintiff’s employment.

       55.     To the extent that Defendant offers Plaintiff’s performance as the reason for her

termination, such reason is a pretext for discrimination. Alternatively, the reason(s) given for

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Plaintiff’s termination, while true, are only some of the reasons, and Plaintiff’s disability was a

motivating factor in the decision to terminate her employment. In other words, Defendant had

mixed motives for Plaintiff’s termination. Plaintiff is not required to elect to pursue a pretext or

mixed motive claim until submission of the case to the jury.

       56.     As a direct and proximate result of Defendant’s conduct, Plaintiff suffered

damages. Defendant’s conduct was willful and justifies an award of punitive damages.

                      COUNT TWO-TITLE VII-SEX DISCRIMINATION

       57.     Plaintiff incorporates by reference and re-alleges all of the foregoing and further

alleges as follows:

       58.     Plaintiff is an employee within the meaning of Title VII and belongs to a class

protected under the statute, namely she is female. See 42 U.S.C. §2000e-5(f).

       59.     Defendant is an employer within the meaning of Title VII.             See 42 U.S.C.

§2000e(b).

       60.     Defendant intentionally discriminated against Plaintiff by submitting her to a

hostile work environment based on sex and/or terminating her employment because of sex.

       61.     As a direct and proximate result of Defendant’s conduct, Plaintiff suffered

damages. Defendant’s conduct was willful and justifies an award of punitive damages.

       62.     To the extent that Defendant contends that Plaintiff was fired for a legitimate non-

discriminatory reason, said reason is a mere pretext for discrimination. Alternatively, the reason(s)

given for Plaintiff’s termination, while true are only some of the reasons, and Plaintiff’s sex was a

motivating factor in the decision to terminate her employment. In other words, Defendant had

mixed motives for Plaintiff’s termination.




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                         COUNT THREE – AGE DISCRIMINATION (ADEA)

       63.      Plaintiff incorporates by reference all of the foregoing and further alleges as

follows:

       64.      Plaintiff is an employee within the meaning of the Age Discrimination in

Employment Act of 1967 (ADEA). See 29 U.S.C. §630(f).

       65.      Defendant is an employer within the meaning of the ADEA. See 29 U.S.C. §630(b).

       66.      Plaintiff is a qualified individual with at least 40 years of age as defined by the

ADEA. See 29 U.S.C. §631(a).

       67.      To the extent that Defendant offers Plaintiff’s performance as the reason for her

termination, such reason is a pretext for discrimination. Plaintiff would not have suffered adverse

employment action “but for” her age.

       68.      As a direct and proximate result of Defendant’s conduct, Plaintiff suffered

damages. Defendant’s conduct was willful and justifies an award of liquidated damages.

                          COUNT FOUR – AGE DISCRIMINATION
                         CHAPTER 21 OF THE TEXAS LABOR CODE

       69.      Plaintiff incorporates by reference all of the foregoing and further alleges as

follows:

       70.      Plaintiff is an employee within the meaning of Texas Labor Code §21.002(7) and

belongs to the class of employees protected under the statute, namely employees over the age of

40. See Texas Labor Code §21.101.

       71.      Defendant is an employer within the meaning of the Texas Labor Code §21.002(8).

       72.      Defendant intentionally discriminated against Plaintiff because of her age in

violation of the Texas Labor Code by terminating her employment.




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       73.      As a direct and proximate result of Defendant’s conduct, Plaintiff suffered

damages.

       74.      Defendant’s conduct was willful and justifies an award of punitive damages.

                              INTERSECTIONAL DISCRIMINATION

       75.      Alternatively, Defendant has discriminated against Plaintiff on the basis of the

combination of two protected traits, namely, Defendant discriminated against Plaintiff because she

is an older woman.

                                            DAMAGES

       76.      Plaintiff was discharged from employment by Defendant.            Although she has

diligently sought other employment, she has been unable to find a job with comparable pay and

benefits.    Plaintiff suffered damage to her pension or retirement benefits.         Plaintiff seeks

compensation for all back pay and lost wages and benefits, including loss of social security

benefits. Reinstatement to Plaintiff’s previous position is impractical and unworkable. Plaintiff

suffered and seeks damages for pecuniary losses, emotional pain, suffering, inconvenience, mental

anguish, loss of enjoyment of life, and other nonpecuniary losses. Plaintiff is entitled to punitive

damages because Defendants’ actions were willful and/or deliberately indifferent to Plaintiff’s

federally protected rights.


                                       ATTORNEY’S FEES

       77.      Plaintiff was forced to engage counsel to protect her rights. Plaintiff is entitled to

an award of attorneys’ fees and costs (including but not limited to an award of reasonable expert

witness fees), both trial and appellate, under the ADEA, 29 U.S.C. § 626(b), the ADA and Title

VII, 42 U.S.C. §2000e-5(f)(3), and/or Texas Labor Code § 21.259.




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                                              INTEREST

        78.      Plaintiff is entitled to prejudgment and post judgment interest at the highest lawful

rate.

                                       JURY TRIAL DEMAND

        79.      Plaintiff demands a jury trial.


                                               PRAYER

        WHEREFORE, Plaintiff respectfully prays for judgment against Defendant for the

following:

        a. Compensatory and punitive damages;

        b. Back pay and front pay;

        c. Liquidated damages;

        d. Attorney’s fees and costs;

        e. Prejudgment and post-judgment interest;

        f. Such other and further relief, at law or in equity, to which Plaintiff may show herself

              justly and lawfully entitled.

                                                   Respectfully submitted,


                                                   By: /s/ Holly B. Williams
                                                           Holly B. Williams
                                                           Texas Bar No. 00788674

                                                   WILLIAMS LAW FIRM, P. C.
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                                                   ATTORNEY FOR PLAINTIFF
                                                   PENNY SEVART

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                                                           EXHIBIT A
